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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

JUSTIN LEFEVRE, an individual,
Plaintiff,
vs. Civil Action No.: 8:20-cv-1763-T-23TGW
CSI FIRE EQUIPMENT, LLC, |
a Florida limited hability company,

and RAY CRANSTON SHERLEY,
an individual,

 

 

Defendants.
/
CASE MANAGEMENT REPORT
1. Meeting of the Parties: Under Local Rule 3.05(c)(2)

(B) or 3.05(c)(3)(A), a meeting was held on October 8, 2020 at 3:00 PM
(_X_) by telephone.

 

 

(_) at
The meeting was attended by:
Name Counsel for (if applicable)
Heath C. Murphy Justin Lefevre

Ray Cranston Sherley

2. Initial Disclosure:
a. Rule 26(a)(1), Federal Rules of Civil Procedure, states:

Except as exempted by Rule 26(a)(1)(B) or as otherwise stipulated or
ordered by the court, a party must, without awaiting a discovery request,
provide to the other parties:

(a.i) the name and, if known, the address and telephone number of each
individual likely to have discoverable information ~ along

 

 
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with the subjects of that information — that the disclosing party may
use to support its claims or defenses, unless the use would be solely for
impeachment;

(a.4i) a copy ~ or a description by category and location — of all
documents, electronically stored information, and tangible things that the
disclosing party has in its possession, custody, or control and may use to
support its claims or defenses, unless the use would be solely for
impeachment;

(a.iii) a computation of each category of damages claimed by the
disclosing party - who must also make available for inspection and copying
as under Rule 34 the documents or other evidentiary material, unless
privileged or protected from disclosure, on which each computation is based,
including materials bearing on the nature and extent of injuries suffered; and

(a.iv) for inspection and copying as under Rule 34, any insurance
agreement under which an insurance business may be liable to satisfy all or
part of a possible judgment in the action or to indemnify or reimburse for
payments made to satisfy the judgment.!

The parties (check one)
(__) have exchanged Rule 26(a)(1)(A) information.

(_X_) agree to exchange Rule 26(a)(1)(A) information
on or before .October 22, 2020?

(__) | stipulate not to disclose Rule 26(a)(1)(A) information because

"A party is not excused from an initial disclosure because the party has not fully completed an
investigation of the case or because the party challenges the sufficiency of another party’s disclosures or
because another party has failed to disclose. Fed. R. Civ, P. 26(a)(1).

* Under Rule 26(a)(1)(C), “A party must make the initial disclosures at or within 14 days after the
parties’ Rule 26(f) conference unless a different time is set by stipulation or court order, or unless a party
objects during the conference that initial disclosures are not appropriate in this action and states the
objection in the proposed discovery plan.” Unless otherwise stipulated or ordered, any party first served
or otherwise joined after the Rule 26(f) conference must initially disclose within thirty days of being
served or joined, Fed. R. Civ. P, 26(a)(1)(D).

 

 
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(_)

are unable to agree to disclosure of Rule 26(a)(1)(A) information
because

 

3. Discovery Plan (Plaintiff): The parties jointly propose the following discovery
plan for the plaintiff:

a. Planned Discovery: A description of each discovery effort the plaintiff plans
to pursue appears below under the pertinent heading and includes the subject of
the discovery and the time during which the plaintiff will pursue the discovery.

(1)

(2)

Request for Admission:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Number of Requests for Admission: In paragraph 6 of this order, a party
may seek — in accord with Rule 26(b)(2) — to limit the number of the
plaintiffs requests for admission.

Written Interrogatory:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Number of Interrogatories: Local Rule 3.03(a) states, “Unless
otherwise permitted by the Court for cause shown, no party shall serve
upon any other party, at one time or cumulatively, more than twenty-
five (25) written interrogatories pursuant to Rule 33, Fed. R. Civ. P.,
including all parts and subparts.” In paragraph 6 of this order the
plaintiff may request leave to exceed this limit.

 

 
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(3)

(4)

Request for Production or Inspection:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Oral Deposition:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Number of Depositions: Local Rule 3.02(b) states, “In accordance with
Fed. R. Civ. P. 30(a)(2)(A) and 3 1(a)(2)(A), no more than ten
depositions per side may be taken in any case unless otherwise ordered
by the Court.” In paragraph 6 of this order the plaintiff may request leave
to exceed this limit.

Time Permitted for Each Deposition: Under Rule 30(d)(2), each
deposition is limited to seven hours during one day unless extended by

order or by agreement of the parties.

The parties request an order extending the duration of the following
depositions:

Proposed Length
Name of Deposition Grounds

N/A

 

 
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b. Disclosure of Expert Testimony: Under Rule 26(a)(2)(C), the parties stipulate that
the plaintiff's Rule 26(a)(2) disclosure is due on or before

June 1, 2021

c, Supplementation of Disclosure and Response: The parties agree that the
plaintiff will supplement under Rule 26(e) at the following times:

Within in a reasonable time of discovery of such disclosures.

d. Completion of Discovery: The plaintiff will begin discovery in time to
complete the discovery on or before October 1, 2021

4. Discovery Plan (Defendant): The parties jointly propose the
following discovery plan for the defendant:

a. Planned Discovery: A description of each discovery effort the defendant
plans to pursue appears below under the pertinent heading and includes the
subject of the discovery and the time during which the defendant will pursue
the discovery.

(1) Request for Admission:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Number of Requests for Admission: In paragraph 6 of this order, a party
may seek — in accord with Rule 26(b)(2) — to limit the number of the
defendant’s requests for admission.

 

 
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(2)

(3)

(4)

Written Interrogatory:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Number of Interrogatories: Local Rule 3.03(a) states, “Unless
otherwise permitted by the Court for cause shown, no party shall serve
upon any other party, at one time or cumulatively, more than twenty-
five (25) written interrogatories pursuant to Rule 33, Fed. R. Civ. P.,
including all parts and subparts.” In paragraph 6 of this order the
defendant may request leave to exceed this limit.

Request for Production or Inspection:

In accordance with Federal Rules of Civil Procedure and all

orders of this Court.

Oral Deposition:

In accordance with Federal Rules of Civil Procedure and all
orders of this Court.

Number of Depositions: Local Rule 3.02(b) states, “In accordance
with Fed. R. Civ. P. 30(a)(2)(A) and 31(a)(2)(A), no more than ten
depositions per side may be taken in any case unless otherwise

 

 
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ordered by the Court.” In paragraph 6 of this order the defendant may
request leave to exceed this limit.

Time Permitted for Each Deposition: Under Rule 30(d)(2), each
deposition is limited to seven hours during one day unless extended by

order or by agreement of the parties.

The parties request an order extending the duration of the following

depositions:
Proposed Length
Name of Deposition Grounds
N/A

b. Disclosure of Expert Testimony: Under Rule 26(a)(2)(C), the parties
stipulate that the defendant’s Rule 26(a)(2) disclosure is due on or before

June 30, 2021

c. Supplementation of Disclosure and Response: The parties agree that the
defendant will supplement under Rule 26(c) at the following times:

Within a reasonable time after discovery of such disclosures.

d. Completion of Discovery: The defendant will begin discovery in time to
complete the discovery on or before October 1, 2021.

5. Joint Discovery Plan: The parties agree to the following discovery practices (¢.g.,
method of handling confidential information, method for asserting or preserving a
privilege or an objection, arrangement for discovery in phases or only on particular
issues):

 

 
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6. Disagreement or Unresolved Issue Concerning Discovery: No disagreement
or unresolved issue excuses the timely establishment of a deadline for completion
of discovery. The following discovery issues remain:

7. Third-Party Claim, Joinder of Party, Potentially Dispositive Motion: The

parties agree that they must move by December 8,
2020for leave to

file a

 

 
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third-party claim or for leave to join a party. See Local Rule 4.03. The parties agree
that a dispositive motion is due on or before November 1, 2020

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8. Settlement and Alternative Dispute Resolution: Under Local Rule 3.05(c)
(2)(C)(v), the parties submit the following statement of their intent regarding
alternative dispute resolution:

The parties agree that settlement is (check one)

(X_) likely.
(_) unlikely.

Concerning binding arbitration under Local Rules 8.02(a)(3) and 8.05(b), the
parties (check one)

(__) consent.
(_X_) fail to consent.

If the parties fail to consent to binding arbitration, future consent is (check one)

(__) likely.
(X_) unlikely.

If the parties fail to consent to binding arbitration, an order will require mediation
under Chapter Nine of the Local Rules.

Consent to Magistrate Judge Jurisdiction: Concerning consent to the jurisdiction

of the United States Magistrate Judge for final disposition, including trial (see 28 U.S.C.
§ 636), the parties (check one)

10.

(_) consent.
(_X_) fail to consent.

If the parties do not consent, future consent is (check one)

(_) likely.
(_X_) unlikely.

Final Pretrial Conference and Trial: The parties will prepare for a final pretrial

conference, which will occur on or after March 1, 2022 2. , and for trial,
which will occur on or after April 1, 2022 oe . This tr ial is
expected to last approximately _2 days and i iS a (check one)

(_X_) jury trial.

 

 
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(__) bench trial.

11. Pretrial Disclosure and Final Pretrial Procedure: The parties acknowledge
awareness of and compliance with the pretrial disclosure requirements in Rule 26(a)
(3) and the final pretrial procedure requirements in Local Rule 3.06.

12, Other Items:

Date: _Q0CT St Do

Date: 0/5

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Signature of Counse) Cit formation required by Local Rule 1.05(d)}
and Signature of Unrepresented Parties

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Signature ofCounset (with informatfon required by Local Rule 1.05(d))
and Sisnature.of Unrepresented Parties

 

 

 
